Case 2:04-cr-20500-.]PI\/| Document 32 Filed 07/14/05 Page 1 of 2 Page|D 44

mo ev _%/€_ n.c.
IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE gsJUL|h AH||:O“
WESTERN DIVISION

n MM.GWLD

““ ‘e+‘,»
W,'D 04 ii`~` ii:}§f‘§¢\p'rns

 

UNITED STATES OF AMERICA,
Plaintiff,
vs. CR. NO. 04-20500-Ma

LOVANIA BROWNLEE,

-._¢~./-._/V-_.z~.._/-._/-._r\._/

Defendant.

 

ORDER ON CONTINUINCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for' a report date on. June 24, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case.

The Court granted the request and continued the trial to the
rotation docket beginning September 6, 2005 at 9:30 a.m., with a
report date of Friday, August 26, 2005 at 2:00 p.m.

The period from June 24, 2005 through September 16, 2005 is
excludable under 18 U.S.C. § 3161(h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

IT IS SO ORDERED this ,3 ‘ day of July, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

llns docL:nern ante ed
v r onthe dockets tin c ' :;2
wnh me 55 and/or 3211)) FHch on W j

 

ISTRIC COURT - WESTERN D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 32 in
case 2:04-CR-20500 Was distributed by faX, mail, or direct printing on
July ]8, 2005 to the parties listed.

 

Pamela B. Hamrin
200 Jefferson, Suite 200
i\/lemphis7 TN 38109

David Pritchard

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

